             Case 1:15-cv-00459-RBW Document 86 Filed 08/03/17 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

RICA GATORE, et al.,

Plaintiffs

v.                                     Civil Action No. 15-cv-459 [RBW]

U.S. DEPARTMENT OF
HOMELAND SECURITY

Defendant

                          PLAINTIFFS’ SUPPLEMENT TO ECF #78-2

        The DHS released its FOIA Processing Guide, [946 pages long], on July 21, 2017. In

those pages are new facts. This document describes those facts, and serves to supplement the

facts as stated by plaintiffs in ECF # 78-2, “Plaintiffs’ statement of genuine issues and statement

of material facts that are necessary to be litigated.”

        The DHS also released 1,239 pages concerning “adjudication of administrative appeals of

FOIA” in June 2017. And also, the DHS also released 3,853 pages, concerning “asylum officer

lesson plans” in June 2017. A lot of reading for counsel for plaintiffs! Plaintiffs now submit the

relevant pages from them.

                                FOIA PROCESSING GUIDE

             32. The DHS released 946 pages, comprising its FOIA Processing Guide, on July 21,

2017. As indicated on the attached declaration, Exhibit 1, counsel for plaintiffs looked at each of

those pages; he then printed out 59 pages, read those pages, and then kept 24 pages. Attachment

A contains those 24 pages. Some excerpts from those pages:

“FULLY WITHHOLD ASYLUM OFFICER ASSESSMENTS: this is stated four times, on

pages 10, 21, 22, and 24
         Case 1:15-cv-00459-RBW Document 86 Filed 08/03/17 Page 2 of 7




FULLY WITHHOLD CERTAIN OTHER DOCUMENTS:
     CAARP Worksheets
     Nails lookout inquiry
     Background check Registry

ARTIALLY WITHHOLD CERTAIN DOCUMENTS:
     G-325, Biographical Information
     Tax returns
     CBP Form 93
     Record of IBIS Query”


MORE EXCERPTS:

   32. “A processor should segregate information that is exempt (cannot be released) from

information that is non-exempt (can be released) …..One exception to this rule is where the non-

exempt material is inextricably intertwined with the exempt material and the only information

being released are words and/or phrases that do not make sense. “Inextricably intertwined” is a

term used by the courts to describes material, which, if redacted, would make no sense at all.

[Page 2 of Attachment A]


   “Fully withhold third party documents such as birth certificates…” [Page 7]

   “Redact the G-325, Biographical Information in part, if it does not relate to the subject of the

file. Release the title of the form and the name of the individual. Fully release the G-325 if it

pertains to the requestor.” [Page 7]

   “Withhold all sensitive third-party information from an Affidavit of Support… Partially

release tax returns…Release only the title of the tax return and the name of the individual who

owns the tax return; all other information is exempt under Exemption (b)(6).” [Page 8]

   “Please partially withhold CBP Form 93…..” [Page 9]

   “Please partially withhold the Record of IBIS Query” [Page 9]
           Case 1:15-cv-00459-RBW Document 86 Filed 08/03/17 Page 3 of 7




      “Assessment to reject, terminate, grant or refer (relates to Asylum) Withhold in full” [Page

10]

      “CAARP Worksheet: Withhold in full” [Page 11]

      “Asylum/Refugee flowcharts withhold in full [“partially” is crossed out] [Page 16]

      “Nails Lookout Inquiry withhold in full” [Page 18]

      “Background Check Registry withhold in full” [Page 19]

      “Discretionary Authority Checklist withhold in full” [Page 20]

      “Assessment to reject, terminate, grant or refer (relates to Asylum) Withhold in full”

       [Page 21]

      “Assessment to reject, terminate, grant or refer (relates to Asylum) Withhold in full”

       [Page 22]

      “Notes and worksheets: Ordinarily, we fully withhold asylum/Refugee interview notes and

question/answer worksheets that pertain to the interview, citing Exemption (b)(5), because they

are privileged deliberative process.” [Page 23]

      “Assessment to reject, terminate, grant or refer (relates to Asylum) Withhold in full”

      [Page 24]

      ===================

                        ADMINISTRATIVE APPEALS OF FOIA REQUESTS

         33.As indicated on the attached declaration, Exhibit 2, the DHS released 1,239 pages

concerning “administrative appeals of FOIA requests” in June 2017. Counsel for plaintiff has

now looked at each of those pages, and has attached the 15 relevant ones hereto, as Attachment

B to Exhibit 2.

      A summary of these pages from Attachment B:
          Case 1:15-cv-00459-RBW Document 86 Filed 08/03/17 Page 4 of 7




   -If non-exempt material is “inextricably intertwined” with exempt material, you may

withhold the entire page. [Page 1 of Attachment B].

    “If we fully withhold a document, we tell you so within the processing guide.” [Page 2,

emphasis added]

   - “Documents or information that we withhold:…Asylum officer assessments…Notice of

Custody, Unserved Warrant for Arrest of Alien…” [Page 4]

   -“Factual information- Does the subject of the file already know this? Did they provide us

with the information? If the subject of the file provided the information to us, we have no sound

legal basis for withholding it.” [Page 5]

   -“Always withhold an Assessment to Refer…….March 22, 2007…” [Page 6, emphasis

added]

   -“Fully withhold Assessment to Refer…..July 28, 1999…” [Page 10]

   -withhold “in part” NACARA Background Identity and Security Checklist [Page 11]

   -“Assessment to reject…Withhold in full….” [Page 12]

   -“NAILS screen-prints are withheld in full…Fully withhold the IBIS Resolution

Memorandum…” [Page 21]

   -“Corporate tax returns…you may release most of their financial information…” [Page 14]

   -“Fully withhold VIBE Status Reports…..” [Page 15]

   =========

   ASYLUM OFFICER LESSON PLANS

         As indicated in Exhibit 3, attached hereto, the DHS released 3,853 pages in June 2017,

concerning “asylum officer lesson plans.” Counsel for plaintiffs looked at each page [!]. Counsel

then selected the 20 relevant pages, and attached them as Attachment A. Some excerpts:
         Case 1:15-cv-00459-RBW Document 86 Filed 08/03/17 Page 5 of 7




       34. “… Asylum officers use standardized templates” when writing Assessments. [Page 1

       of Attachment Exhibit A]

   -   Many people have access to assessments, including “the applicant and his or her attorney,

       and “BIA and Federal Courts…..” [Page 3]

   -   -there are seven components to an Assessment, according to Page 4:
       A. Biographic
       B. Basis of claim
       C. Analysis of prohibitions against filing
       D. Summary of testimony
       E. Credibility Determination
       F. Focused legal analysis
       G. Decision
   -   ====

   -   Officers are instructed at Page 7 to

        “Stick to the facts as they were presented
         Don’t editorialize
         Don’t interpret what the applicant said
         Be concise
         State the facts clearly”


   “The summary of the testimony should include only facts, not legal conclusions.” [Page 8]

   “Avoid language that suggests personal opinion” [Page 8]

   35. In LESSON PLAN OVERVIEW, dated May3, 2013, it is stated that an objective of the

lesson is to teach the officer to: “Identify who may have access to affirmative asylum

assessments” [Page 9}

   “No personal opinions, either positive or negative” [Page 10]

   “Standardized ‘template’ documents for assessments and NOIDs are installed on the Asylum

Division computer network so that asylum officers can quickly and easily access and use these

documents…The use of standardized templates promotes consistency of work product across the

Asylum program.” [Page 11]
         Case 1:15-cv-00459-RBW Document 86 Filed 08/03/17 Page 6 of 7




   “Assessments [are] documents to which a Number of Persons have access.” [Page 11,

Bold in original]

   “Individuals who have access to assessments and NOIDs include the following:

          1. The applicant and his or her attorney…under some circumstances…may file a
             Freedom of Information Act (FOIA) [and obtain the assessment].” [Pages 11-12]

          4. “In some cases, the Assistant Chief Counsel may enter an assessment or NOID into
          the record, which means that the immigration judge and others would also review these
          documents.

          5. The Board of Immigration Appeals (BIA) and federal courts review certain
          assessments and NOIDs.” [Page 12].
          ===

          “Material facts not stated in the summary of testimony should not be introduced in the

          content of the legal analysis.” [Page 16]

          “The credibility determination is made after the summary of the facts.” [Page 17]

          “The asylum officer should not include his or her personal opinions, or value

          judgments, either positive or negative, when writing these documents. Both

          assessments and NOIDs should be strictly informational in tone.” [Page 18]



          “A number of persons may have access to assessments and NOIDs including, but not
          limited to:

                    1.The applicant and his or her attorney or legal representative;
                    4. ICE Assistant Chief Counsels;
                    5. The BIA and federal courts…” [Page 19]

                    “Assessments should not include any personal opinions of the asylum officer.”

                    [Page 20]
     Case 1:15-cv-00459-RBW Document 86 Filed 08/03/17 Page 7 of 7




August 3, 2017

   Respectfully submitted,

   Attorney for Plaintiffs

   David L. Cleveland
   DC Bar # 424209
   Catholic Charities
   924 G Street, NW Washington, DC 20001
   [202] 772-4345 Fax: [202] 386-7032
   1949.david@gmail.com
